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April 29, 2022
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Via CM/ECF                                                                         Dallas, TX 75201-7932
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The Honorable Peter R. Marksteiner                                                 nortonrosefulbright.com
Circuit Executive and Clerk of Court
U.S. Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington D.C. 20439

Re:        ThermoLife Int’l LLC v. Human Power of N Co., Nos. 22-1316, -1367

Dear Colonel Marksteiner:

      On behalf of appellee Human Power of N Co. (“HumanN”), and pursuant to
the Court’s Order dated April 4, 2022, I write to inform the Court that on April 15,
2022, the district court dissolved the temporary restraining order on review (the
“TRO”). See Ex. A. For that reason, in addition to the other reasons HumanN has
already set forth, see Dkt. 23 at 12-15; Dkt. 27 at 3-8, the TRO is not appealable.
Nor has the district court entered any other appealable order. HumanN therefore
respectfully submits that this Court lacks appellate jurisdiction under 28 U.S.C.
§ 1292, and requests that these appeals be dismissed.

       ThermoLife previously argued that dissolution of the TRO would not divest
this Court of jurisdiction because, in ThermoLife’s opinion, a similar TRO might
issue in the future. Dkt. 26, 30. This Court appears to have rejected that argument
when, over ThermoLife’s objection, the Court remanded to the district court for
that court to dissolve the TRO. See Dkt. 31. This Court’s order would have been
pointless if, as ThermoLife argued, the dissolution would have no effect on this
appeal.

       In any event, ThermoLife’s argument is wrong, both legally and factually. A
federal court of appeals cannot review an order that does not—and may never—
exist. See § 1292. The cases ThermoLife cites do not suggest otherwise. All of
them involve Article III’s case-or-controversy requirement; none involves Section
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Hon. Peter R. Marksteiner
April 29, 2022
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1292’s additional dictate that an appeal cannot proceed in the absence of an
appealable order. And in any event, as HumanN has explained, the independent
actions of non-party Amazon belie ThermoLife’s contention that a similar TRO is
likely ever to issue. See Dkt. 29.

                                        Respectfully submitted,

                                        /s/ Brett C. Govett
                                        Brett C. Govett
                                        NORTON ROSE FULBRIGHT US LLP
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                                        Dallas, TX 75201-7932
                                        (214) 855-8118

                                        Counsel for Appellee

Attachment




                                       2
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               CERTIFICATE OF COMPLIANCE

This letter contains 278 words.


                                  /s/ Brett C. Govett
                                  Brett C. Govett
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                                  Counsel for Appellee
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                         CERTIFICATE OF SERVICE

      Case Nos. 22-1316, -1367

      ThermoLife Int’l LLC v. Human Power of N Co.

      I certify that I served a copy of this document on April 29, 2022, via

CM/ECF on all counsel of record.



      Dated: April 29, 2022           /s/ Brett C. Govett
                                      Brett C. Govett
                                      NORTON ROSE FULBRIGHT US LLP
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                                      Dallas, TX 75201-7932
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                  EXHIBIT A
           Case:
        Case     22-1316    Document:
             6:21-cv-00144-ADA        32 121
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 THERMOLIFE INTERNATIONAL,                          Civil Action No. 6:21-CV-00144-ADA
 LLC,

        Plaintiff,

 v.

 HUMAN POWER OF N COMPANY, d/b/a
 HUMANN, f/k/a NEOGENIS LABS, INC.,

        Defendant.

  ORDER GRANTING HUMAN POWER OF N COMPANY’S OPPOSED RENEWED
        MOTION TO DISSOLVE TEMPORARY RESTRAINING ORDER

       Before the Court is HumanN’s Opposed Renewed Motion To Dissolve Temporary

Restraining Order, filed on April 12, 2022. Dkt. No. 116 (the “Renewed Motion”). On February

17, 2022, this Court issued an Indicative Ruling stating that it would dissolve the TRO, Dkt. No.

88, if the Federal Circuit remanded for that purpose. See Dkt. No. 109. The Federal Circuit then

remanded for that purpose. Dkt. No. 113. Accordingly, the Court agrees with HumanN that the

TRO should be dissolved.

       THEREFORE:

       IT IS ORDERED that the Renewed Motion is GRANTED, and the Temporary

Restraining Order, Dkt. No. 88, is hereby DISSOLVED.

                  April 15th
SIGNED on this _________________________, 2022.




                                           ALAN D. ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE
